                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                           SOUTHWESTERN DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
                          Plaintiff,               )
                                                   )
       vs.                                         )      No. 15-05041-01-CR-S-BP
                                                   )
JASON L. HARPER,                                   )
                                                   )
                          Defendant.               )


                       ACCEPTANCE OF PLEA OF GUILTY AND
                            ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Counts One and

Four contained in the Indictment filed on November 4, 2015, is now Accepted and the Defendant

is Adjudged Guilty of such offense. Sentencing will be set by subsequent Order of the Court.




                                                            /s/ Beth Phillips
                                                           BETH PHILLIPS
                                                   UNITED STATES DISTRICT JUDGE




Date: February 22, 2016




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